Case:18-11593-SDB Doc#:26 Filed:02/20/19 Entered:02/20/19 15:15:50                               Page:1 of 2
                           IN THE UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF GEORGIA
                                      AUGUSTA DIVISION

In the Matter of:                                          )    Chapter 13
Carl L Dednam, Sr                                          )    Case No: 18-11593-SDB
2339 Moncrieff St                                          )
Augusta, GA 30906                                          )
                                                           )
Debtor


                    TRUSTEE'S RESPONSE TO MOTION FOR RELIEF FROM
                      AUTOMATIC STAY AND FOR IN REM RELIEF OF
                                  U.S. BANK TRUST N.A.

        COMES NOW, the Chapter 13 Trustee Huon Le, by and through counsel, and files this response
to the Motion for Relief from Automatic Stay and for In Rem Relief of U.S. Bank Trust N.A.:

         1. Trustee’s records reflect that U.S. Bank Trust N.A., as Trustee of the SCIG Series III Trust
            (“U.S. Bank”), is being paid according to Debtor’s confirmed Plan. An Order Confirming
            Plan (ECF No. 24) was entered on February 8, 2019. The Plan provides that post-petition
            mortgage payments to U.S. Bank will be disbursed by the Trustee beginning February 1,
            2019. Further, payments on the prepetition mortgage arrearage will be disbursed by the
            Trustee. The Plan provides that payment that become due after the filing of the petition but
            before the month of the first payment designated to be paid by the Trustee will be added to the
            prepetition arrearage claim.
         2. According to U.S. Bank’s Proof of Claim No. 3, monthly mortgage payments are
            $942.54. Trustee disbursed $942.54 to U.S. Bank on February 1, 2019.
         3. The confirmed Plan is binding on U.S. Bank and Trustee contends U.S. Bank has received all
            payments due to it under the Plan.
         4. U.S. Bank is not entitled to relief from stay or costs associated with the motion.
         WHEREFORE, the Trustee respectfully prays that she be heard at the hearing on Motion for
Relief from Stay and for In Rem Relief of U.S. Bank Trust N.A.

         This 20th day of February 2019.



                                                           /s/ Jane Miller
                                                           Jane Miller, Attorney for
                                                           Chapter 13 Trustee Huon Le
                                                           Georgia Bar No. 256304
Case:18-11593-SDB Doc#:26 Filed:02/20/19 Entered:02/20/19 15:15:50                             Page:2 of 2
                                      CERTIFICATE OF SERVICE

        The undersigned hereby certifies that copies of this Response have been forwarded by either
electronic or first-class mail, postage prepaid, to the above-named Debtor(s) and the parties whose name
appears below, on the 20th day of February 2019.

Seymour & Associates, Attorney At Law, 101 B Rossmore Pl, Augusta, GA 30909

Marc E. Ripps, Attorney At Law, P O Box 923533, Norcross, GA 30010-3533



                                                                    /s/ Yvonne Ogbuefi
                                                                    Office of the Chapter 13 Trustee
                                                                    Post Office Box 2127
                                                                    Augusta, Georgia 30903
